       Case 1:13-cv-00734-RBW Document 200-2 Filed 12/11/20 Page 1 of 10




                                United States District Court
                                For the District of Columbia

 True the Vote, Inc.;
                                                 Plaintiff,
            v.
                                                              Civil Case No. 1:13-cv-000734-RBW
 Internal Revenue Service, et al.;
                                              Defendants.


Memorandum of Points and Authorities in Support of Plaintiff’s Motion to
        Quash PILF’s and Foley’s Attorney’s Charging Lien

        The Notice of Attorney’s Charging Lien (“Charging Lien”), ECF No. 142, filed by

Public Interest Legal Foundation (“PILF”) and Foley and Lardner LLP (“Foley”) (collectively,

“Former Attorneys”)1 must be quashed immediately under D.C. law. Former Attorneys assert

their attorney’s charging lien “against any recovery of fees, expenses and costs that might be

obtained by the plaintiff, and demands that PILF’s interests be recognized in conjunction with the

distribution of any recovery to plaintiff or its counsel in this litigation.” Id. at ¶ 13. The

agreements upon which Charging Lien are based have been nullified by a subsequent agreement

between TTV and Former Attorneys. Therefore, Former Attorneys’ basis for Charging Lien no

longer exists and this Court must quash Charging Lien as a matter of law.

        Even if this Court incorporates and analyzes the subsequent agreement between TTV and

Former Attorneys, that subsequent agreement does not entitle Former Attorneys to fees from any

judgment ordered by this Court on the issue of fees, costs, and expenses, and, therefore, no


        1
         The Center for Constitutional Jurisprudence (“CCJ”) also formerly represented TTV and
is included in the collective “Former Attorneys” designation.

Pl.’s Mem. in Supp. of
Mot. to Quash
Atty’s Lien                                        1
      Case 1:13-cv-00734-RBW Document 200-2 Filed 12/11/20 Page 2 of 10




charging lien can lie under D.C. law.




       Agreement, December 12, 2017, Exhibit A, at ¶ 3 (“Governing Agreement”) (emphasis

added). No settlement with the IRS has been reached. TTV has litigated the issue for two years,

and no subsequent agreement was ever made between the parties for the distribution of funds

recovered from the litigation of the EAJA claim.




                                                                   Id. at ¶¶ 7, 8.




       Because Former Attorneys base their Charging Lien on agreements superseded by the

Governing Agreement and the



   , Former Attorneys have no agreement upon which to base a lien.


Pl.’s Mem. in Supp. of
Mot. to Quash
Atty’s Lien                                    2
      Case 1:13-cv-00734-RBW Document 200-2 Filed 12/11/20 Page 3 of 10




       For over seven years, TTV suffered through the effects of not only the IRS’s

discriminatory conduct, but also through over two years of litigation regarding an award of

attorney’s fees. Former Attorneys’ baseless Charging Lien threatens to delay justice once more

for TTV by blocking the award of fees for an uncertain period.2

                                         Background

       Former Attorneys represented TTV in this litigation until February 21, 2017, when TTV

terminated their representation. Termination Letter, Exhibit B. Prior to TTV’s termination, PILF3

had a legal services agreement with TTV, entered into on May 13, 2013, which governed its

relationship with TTV, including fee expectations. ActRight/PILF Agreement, Exhibit C (“PILF

Agreement”). On June 24, 2013, Foley entered into a joint representation agreement with TTV

and ActRight Legal Foundation, and the terms of this agreement governed its relationship with

TTV, including fee expectations. Foley Agreement, Exhibit D. On February 22, 2017, TTV

entered into an agreement by which THE BOPP LAW FIRM, PC (“BLF”) would represent TTV in

this matter. BLF Agreement, Exhibit E. On May 5, 2017, Former Attorneys filed their Charging

Lien based on the PILF and Foley Agreements. ECF No. 142. On December 13, 2017, TTV and

Former Attorneys entered into the Governing Agreement which superseded the PILF and Foley

Agreements and


       2
         The question of the Charging Lien is separate from the underlying litigation. Levine v.
Levine, 381 N.J. Super. 1 (App. Div. 2005). Thus, there is no reason not to enter a final judgment
against the IRS on this matter and litigate the validity of the Charging Lien as a separate matter.
       3
        This legal services agreement was executed under PILF’s former name, ActRight Legal
Foundation.

Pl.’s Mem. in Supp. of
Mot. to Quash
Atty’s Lien                                      3
       Case 1:13-cv-00734-RBW Document 200-2 Filed 12/11/20 Page 4 of 10




                                           Argument

       The Governing Agreement supersedes the PILF and Foley Agreements, which were the

agreements in place at the time PILF filed Charging Lien. Both the PILF Agreement and the

Foley Agreement were superseded by the Governing Agreement, executed on December 13,

2017. Exhibit A. This Governing Agreement states:




See id. at ¶¶ 7,8. So, the PILF and Foley Agreements are nullified by the Governing Agreement.

Because Charging Lien is based upon nullified agreements, this Court must quash Charging Lien

as a matter of law. However, if this Court considers the Governing Agreement in place of the

PILF and Foley Agreements, it must still quash Charging Lien as a matter of law.

       The District of Columbia’s law governing attorney’s liens controls in this action. 7 Am.

Jur. 2d Attorneys at Law § 337 (“The existence and effect of an attorney’s lien is governed by the

law of the place in which the contract between the attorney and the client is to be performed, that

is, the jurisdiction in which a contemplated action or proceeding is to be instituted.”). The

District of Columbia has no statute providing for an attorney’s lien, but D.C. case law has long

recognized the validity of such a lien when “there exist[s] between the client and his attorney an



Pl.’s Mem. in Supp. of
Mot. to Quash
Atty’s Lien                                      4
       Case 1:13-cv-00734-RBW Document 200-2 Filed 12/11/20 Page 5 of 10




agreement from which the conclusion may reasonably be reached that they contracted with the

understanding that the attorney’s charges were to be paid out of the judgment recovered.” Wolf v.

Sherman, 682 A.2d 194, 197-98 (D.C. 1996) (citations omitted) (emphasis in original). In other

words, an attorney’s lien against a client’s funds may arise by operation of law, but it requires

proof of (1) an agreement between lawyer and client (2) contemplating that the lawyer’s fee will

be paid from the client’s judgment. Peterson v. Islamic Republic of Iran, 724 F. App’x 1, 4 (D.C.

Cir. 2018). See also, Democratic Cent. Comm. of D.C. v. Wash. Metro. Area Transit Comm’n,

941 F.2d 1217, 1219 (D.C. Cir. 1991) (per curiam); Yankton Sioux Tribe v. Bernhardt, No. CV

03-01603 (TFH), 2019 WL 3753616, *4 (D.D.C. Aug. 8, 2019); Hahn v. Or. Physicians’ Serv.,

786 F.2d 1353, 1355 (9th Cir. 1985).

        These “equitable” charging liens may effectuate some [implied] “underlying agreement

between debtor and creditor or in other circumstances where justice requires.” See Wolf, 682

A.2d at 197. Under District of Columbia law, “the express terms of a contract control and will be

enforced as written unless there is an ambiguity, the terms violate a statute or public policy, or

there is fraud, duress, or mutual mistake.” Barros v. Gov't Employees Ins. Co., Inc., 79 F. Supp.

3d 32, 39 (D.D.C. 2015). But the Governing Agreement is unambiguous—therefore, this Court

cannot override the Governing Agreement’s express terms and cannot grant Former Attorneys an

equitable charging lien in this fee litigation.




                                                                                     Exhibit C at


Pl.’s Mem. in Supp. of
Mot. to Quash
Atty’s Lien                                       5
       Case 1:13-cv-00734-RBW Document 200-2 Filed 12/11/20 Page 6 of 10




Section 2,                                                                                    Id.

at Section 3. Likewise, under the 2013 Foley Agreement,



Exhibit D at Section 6. Both Agreements were superseded by the Governing Agreement, which




        The Governing Agreement does not contemplate that Former Attorneys will be entitled to

attorney’s fees unless TTV                           for fees. The Governing Agreement’s

explicit terms state:




Id. at Preamble, ¶ 3. (emphasis added). The Governing Agreement then specifies the fees and

expenses due to PILF if

                Id. at ¶ 4.




Pl.’s Mem. in Supp. of
Mot. to Quash
Atty’s Lien                                    6
      Case 1:13-cv-00734-RBW Document 200-2 Filed 12/11/20 Page 7 of 10




       TTV did not successfully negotiate a settlement with the IRS on attorney’s fees. In fact,

the issues surrounding the fee award have been litigated by BLF for over two years now. In the

absence of a negotiated settlement, the Governing Agreement explicitly states



                                                               Id. at ¶ 3. The Governing

Agreement simply does not contemplate




       In order to obtain an equitable charging lien, Former Attorneys are required to prove that

they have: (1) an agreement between lawyer and client (2) contemplating that the lawyer’s fee

will be paid from the client’s judgment. Under the explicit language of the Governing

Agreement, Former Attorneys cannot do so, and therefore, TTV’s Motion to Quash should be

granted.

                                          Conclusion

       The PILF and Foley Agreements are nullified by the Governing Agreement. Because

Charging Lien is based upon nullified agreements, this Court must quash Charging Lien as a

matter of law.

       If the Court substitutes the Governing Agreement for the PILF and Foley Agreements for

its analysis, it must still quash Charging Lien as a matter of law, because the Governing

Agreement c




Pl.’s Mem. in Supp. of
Mot. to Quash
Atty’s Lien                                     7
      Case 1:13-cv-00734-RBW Document 200-2 Filed 12/11/20 Page 8 of 10




                                                                TTV’s Motion

to Quash should be granted.




Pl.’s Mem. in Supp. of
Mot. to Quash
Atty’s Lien                           8
      Case 1:13-cv-00734-RBW Document 200-2 Filed 12/11/20 Page 9 of 10




October 21, 2020                          Respectfully submitted,
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Pl.’s Mem. in Supp. of
Mot. to Quash
Atty’s Lien                           9
      Case 1:13-cv-00734-RBW Document 200-2 Filed 12/11/20 Page 10 of 10




                                    Certificate of Service

       I hereby certify that on October 22, 2020, I caused the foregoing and all attachments

thereto in the above-captioned matter to be filed under seal with the United States District Court

for the District of Columbia via the Court’s CM/ECF system. In addition, pursuant to LCvR 5.1,

I served, via email, the foregoing and all attachments thereto upon all parties.



                                                  /s/ James Bopp, Jr.

                                                  James Bopp, Jr.




Pl.’s Mem. in Supp. of
Mot. to Quash
Atty’s Lien                                      10
